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                                  UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA

                                         CRIMINAL MINUTES

 Date: March 22, 2021              Time: 9:19-11:34 am                 Judge: Edward J. Davila
                                   Total Time: 2 hrs. 15 Mins.
 Case No.: 20-cr-00432-EJD- Case Name: UNITED STATES v. Ole Hougen(P)(C)
 1

Attorney for Plaintiff: Marissa Harris, Michael Songer

Attorney for Defendant: Severa Keith


  Deputy Clerk: Adriana M. Kratzmann                  Court Reporter: Irene Rodriguez

  Interpreter: N/A                                    Probation Officer: N/A


                  PROCEEDINGS – PRETRIAL CONFERENCE/MOTION HEARING
                          IN-COURT via AT&T Telephone Conference

Defendant is present, in-custody. Hearing held.
9:19-9:41 am
Pretrial Conference
The Parties estimate the length of the trial to be 7-10 days based upon a full day schedule.
The Court provided the tentative schedule for trial which is subject to change.
Schedule as follows: March 30, 2021 at 9:00 a.m. Jury Selection, March 31, April 2 2021(9:00-3:00
pm) (possibly end at 4pm on trial days), April 6, 7, 9(9am-3pm), April 13, 14, 16 (9am-3pm), April
19 and 20 deliberations.
Jury for trial will consist of 12 plus 4 alternates, total 16 jurors.
The Court to review the proposed voir dire submitted by the Parties and may incorporate the additional
questions in voir dire of the prospective jury panel. Court will allow counsel 15-20 mins to voir dire the
jury panel, that is for EACH group of 20 prospective jury panel.



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                                                                                          Adriana M. Kratzmann
 P/NP: Present, Not Present
                                                                                              Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                                 Original: Efiled
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                                                                                                            CC:
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The Court scheduled a courtroom walk through with the Parties (defendant’s appearance is
waived) and Court staff inclusive of Jury Commissioner for Friday, March 26, 2021 at 10:00 a.m.
in Courtroom 1, 5th Floor, San Jose Courthouse.
Jury selection will consist of prospective jurors to present in the courtroom in groups of 20 at a time due
to COVID restrictions.
The completed juror questionnaires (survey monkey) will be made available to the Court and
parties on Wednesday, March 24, 2021 and will be electronically provided with the list of jurors.
The Parties shall provide the Court with an agreed upon neutral statement of the case. If a statement
cannot be agreed upon then the Court will read the Indictment to the Jury.
The Court will not allow questions from the jurors during trial.
The Parties indicated at this time there are no specials needs for witnesses and no interpreters necessary.
Should this change the Parties shall notify the Court.
Counsel shall contact the courtroom deputy to arrange and coordinate use and needs of the courtroom
technology this can be addressed during the walk through of the courtroom.
Court ordered the parties to provide notice no later than 7pm the day prior of anticipated witnesses to
testify to the other side. Counsel shall provide the courtroom deputy with a list of the exhibits to be
utilized with each witness the morning of witness testimony.
Counsel shall not directly address the jury.
Defense Counsel waived client’s presence at bench conferences.
The Court inquired regarding possible settlement possibilities and Counsel informed the Court that an
offer re a plea was extended to Defendant and it was declined.

The Court previously ordered time exclusion Pursuant to 18 U.S.C. §3161(h)(7)(A), the Court found the
ends of justice served in granting the continuance outweighed the best interests of the public and the
defendant in a speedy trial and excluded through and including 3/30/2021 date of trial. For the reasons
stated on the record, time is excluded pursuant to 18 U.S.C. §3161(h)(7)(B)(iv).

9:41-11:34 a.m.
MOTIONS/MOTIONS IN LIMINE HEARING
The Court made the following rulings on the motions and motions in limine:

Defendant’s Motion for order authorizing defendant to wear civilian clothes at trial is GRANTED (Dkt.
113 filed 3/22/2021)
Defendant’s Motion for order permitting access to shower facilities during trial is GRANTED (Dkt 114
filed 3/22/2021)
The Court heard oral arguments as to Defendant’s motion to dismiss to suppress witness statements or
dismiss indictment (Dkt. 68 filed 2/24/2021) – The motion is DENIED.


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Motions in Limine

Dkt. 75 filed 3/5/2021
G1 – GRANT (Subject to the Court addressing objections from a party at trial)
G2 – GRANT
G3 – GRANT
G4 – GRANT
G5 – GRANT (Reciprocal fashion)
G6 – GRANT
G7 – DEFER
G8 – GRANT

The Court heard oral argument as to the Government’s Notice of intent to introduce 404(b) evidence
(Dkt. 74 filed 3/5/2021) – The Court will permit Government to admit incidents as discussed.

D1 – GRANT
D2 – GRANT
D3 – GRANT (Continuing during trial)
D4 – GRANT (Reciprocal)
D5 – DEFER (Counsel to meet and confer)
D6 – GRANT (Witnesses to be excluded), DENY as to Case Agent testify first, GRANT witnesses shall
not read trial transcripts or discuss their testimony
D7 – DEFER
D8 – GRANT
D9 - DENY (The Court will permit Government to admit incidents as discussed re Dkt. 74 – see above)

CASE CONTINUED TO: March 30, 2021 9:00 A.M. for Jury Selection/Trial.

Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure,
Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions interpreting Brady,
the government has a continuing obligation to produce all information or evidence known
to the government that is relevant to the guilt or punishment of a defendant, including,
but not limited to, exculpatory evidence.

Accordingly, the Court Orders the government to produce to the defendant in a
timely manner all information or evidence known to the government that is either:
(1) relevant to the defendant’s guilt or punishment; or (2) favorable to the defendant on
the issue of guilt or punishment.


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This Order is entered under Rule 5(f) and does not relieve any party in this matter
of any other discovery obligation. The consequences for violating either this Order or the
government’s obligations under Brady include, but are not limited to, the following:
contempt, sanction, referral to a disciplinary authority, adverse jury instruction, exclusion
of evidence, and dismissal of charges.

EXCLUDABLE DELAY:
Category – Effective preparation of Counsel previously ordered.
Ends – 3/30/2021




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